
PER CURIAM.
AFFIRMED. See Bracey v. Dep’t of Children &amp; Families, 764 So.2d 905, 905 (Fla. 5th DCA 2000) (“PERC was required to affirm the factual findings ... made by the hearing officer if such findings are' supported by competent substantial evidence.”); Crawley v. Dep’t of Highway *513Safety &amp; Motor Vehicles, 616 So.2d 1061, 1063 (Fla. 1st DCA 1993) (“The determination of whether appellant’s violation of policy was willful is a factual determination to be made by the hearing officer. PERC may not reject the hearing officer’s finding unless there is no competent, substantial evidence from which the finding could reasonably be inferred.”).
ORFINGER, LAWSON, JJ„ and HARRIS, C.M., Senior Judge, concur.
